              Case 18-10153-JKS                   Doc 1     Filed 01/03/18 Entered 01/03/18 17:12:01                               Desc Main
                                                            Document     Page 1 of 47
Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                USI Services Group, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  51 Progress Street
                                  Union, NJ 07083
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Union                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor
                                                                 Document     Page 2 of Case
                                                                                         47 number (if known)
          USI Services Group, Inc.
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5617

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                          Case number
                                                  District                                When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                            Relationship
                                                  District                                When                         Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor
                                                              Document     Page 3 of Case
                                                                                      47 number (if known)
         USI Services Group, Inc.
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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                                                                                     47 number (if known)
          USI Services Group, Inc.
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 3, 2018
                                                  MM / DD / YYYY


                             X   /s/ Frederick G. Goldring                                               Frederick G. Goldring
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Stuart Gold                                                          Date January 3, 2018
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 Stuart Gold
                                 Printed name

                                 Mandelbaum Salsburg P.C.
                                 Firm name

                                 3 Becker Farm Road
                                 Roseland, NJ 07068
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     9737364600                    Email address      sgold@lawfirm.ms

                                 009511986
                                 Bar number and State




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           USI Services Group, Inc.
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                   Chapter     11
                                                                                                                Check if this an
                                                                                                                amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Initial Protective Services, Inc.                                       Relationship to you     Affiliate
District   New Jersey                                 When     1/03/18             Case number, if known   TBA
Debtor     Strike Force of New Jersey, Inc.                                        Relationship to you     Affiliate
District   New Jersey                                 When     1/03/18             Case number, if known   TBA
Debtor     Strike Force Protective Services, Inc.                                  Relationship to you     Affilliate
District   New Jersey                                 When     1/03/18             Case number, if known   TBA
Debtor     Summit Staffing Solutions, Inc.                                         Relationship to you     Affiliate
District   New Jersey                                 When     1/03/18             Case number, if known   TBA
Debtor     Ultimate Services, Inc.                                                 Relationship to you     Affilitate
District   New Jedrsey                                When     1/03/18             Case number, if known   TBA
Debtor     USI Landscape and Design, Inc.                                          Relationship to you     Affiliate
District   New Jersey                                 When     1/03/18             Case number, if known   TBA
Debtor     USI Landscape and Design, Inc.                                          Relationship to you     Affiliate
District   New Jersey                                 When     1/03/18             Case number, if known   TBA




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 Fill in this information to identify the case:
 Debtor name USI Services Group, Inc.
 United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY                                                                                       Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 ACTION CARTING                                                  Trade Vendor                                                                                               $3,266.24
 ENVIRON
 300 FRANK W BURR
 BLVD
 TEANECK, NJ 07666
 ALL INCLUSIVE                                                   Trade Vendor                                                                                               $1,330.00
 KITCHENS
 1344 FERRY ST
 EASTON, PA 18042
 BUILDING SERVICE                                                Union                                                                                                  $309,040.73
 32 BJ BENEFIT
 FUNDS
 25 WEST 18th
 STREET
 4th FLOOR
 NEW YORK, NY
 10011-4676
 CHASAN LEYNER &                                                 Professional Fees                                                                                          $8,029.37
 LAMPARELLO, PC
 300 LIGHTING WAY
 SECAUCUS, NJ
 07094
 Diego F. Navas,Esq.                                             Legal Settlement                                                                                         $10,000.00
 Trust Rosa Caguana
 481 BLOOMFIELD
 AVE.
 NEWARK, NJ 07107
 GARRUTO &                                                       Legal Settlement                                                                                           $2,500.00
 CALABRIA LLC
 600 Franklin Ave.
 in re Rosamaria
 Giuliano
 NUTLEY, NJ 07110
 HOBART SERVICE                                                  Trade Vendor                                                                                                 $786.17
 4 GLORIA LANE
 FAIRFIELD, NJ
 07004


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    USI Services Group, Inc.                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 INTERNAL                                                        Taxes                  Unliquidated                                                                    $274,101.00
 REVENUE SERVICE
 PO BOX 80110
 CINCINNATI, OH
 45280-0010
 Kluger Healey, LLC                                              Professional                                                                                             $29,915.34
 P.O. BOX 424                                                    Fees/Judgement
 LINCROFT, NJ
 07738
 L&W SUPPLY / J B                                                Trade Vendor                                                                                               $1,591.49
 ACOUSTICAL
 SUPPLY
 14 Central Blvd
 SO HACKENSACK,
 NJ 07606
 LEWIS BRISBOIS                                                  Judgement/Claim                                                                                          $17,557.60
 BISGAARD & SMITH
 LLP
 633 W. FIFTH
 STREET
 SUITE # 4000
 LOS ANGELES, CA
 90071
 MYC, LLC                                                        Trade Vendor                                                                                                 $750.00
 3325 SOUTH
 UNIVERSITY DRIVE
 SUITE # 200
 DAVIE, FL 33328
 NetCarrier, Inc.                                                Trade Vendor                                                                                               $2,264.00
 North Penn
 Business Park
 4000 N. Cannon
 Ave.
 Lansdale, PA 19446
 NEW JERSEY WILD                                                 Trade Vendor                                                                                             $12,746.40
 GEESE CONTROL
 INC.
 PO BOX 7293
 NORTH
 ARLINGTON, NJ
 07031
 NJ DIV. OF                                                      Taxes                  Unliquidated                                                                    $880,000.00
 TAXATION
 REVENUE
 PROCESSION
 CENTER
 PO BOX 257
 TRENTON, NJ
 08646-0257




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    USI Services Group, Inc.                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 NYS CORPORATION                                                 Taxes                  Unliquidated                                                                    $154,200.00
 TAX
 PROCESSING UNIT
 P.O. BOX 1909
 ALBANY, NY
 12201-1909
 PA Department of                                                Taxes                  Unliquidated                                                                    $157,500.00
 Revenue
 535 Chestnut St.
 ATTN: SUZANNE
 LUCZNER
 Sunbury, PA
 17801-2834
 Palomino Janitorial                                             Trade Vendor                                                                                               $3,825.00
 Service, Inc.
 2521 W. Sunflower
 Suite # R4
 Santa Ana, CA
 92704
 ROYAL BATTERY                                                   Trade Vendor                                                                                                 $895.00
 1095 East St.
 George Avenue
 COLONIA, NJ 07063
 ST. LUKES                                                       Trade Vendor                                                                                               $1,179.31
 ROOSEVELT
 HOSPITAL
 7 AUDUBON ROAD
 WAKEFIELD, MA
 01880




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                         Kuharski, Levitz et al
                        176 Hart Boulevard
                        in re Alexis Griffith
                        Staten Island, NY 10301


                        AAA COMMUNICATIONS
                        15 RIVERSIDE DRIVE
                        PINE BROOK, NJ 07058


                        ACTION CARTING ENVIRON
                        300 FRANK W BURR BLVD
                        TEANECK, NJ 07666


                        ADAMS & MILLER
                        247 WEST 35TH STREET
                        SUITE # 402
                        GERI KINGSTON
                        NEW YORK, NY 10001


                        ADMIRAL INSURANCE CO.
                        1253 HADDONFIELD BERLIN RD.
                        VOORHEES, NJ 08043-4847


                        ADP SCREENNG & SELECTION SERVICES
                        5065 WOOSTER PIKE
                        Cincinnati, OH 45226


                        Advanced Open MRI & Diag.
                        6416 Bergenline Ave.
                        West New York, NJ 07093-1621


                        Akerman LLP
                        One Southeast Third Avenue
                        Suite 2500
                        Miami, FL 33131-1714


                        ALABAMA DEPT. OF REVENUE
                        P.O. BOX 327320
                        MONTGOMERY, AL 36132-7320


                        ALL INCLUSIVE KITCHENS
                        1344 FERRY ST
                        EASTON, PA 18042
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                    AMERICAN WASTE AND TEXILE
                    73 VESEY STREET
                    NEWARK, NJ 07105


                    AMERIGAS PROPANE LP
                    P.O. BOX 660288
                    DALLAS, TX 75266-0288


                    ANT NURSERY
                    1439 PERRINEVILLE RD.
                    MONROE TOWNSHIP, NJ 08831


                    ANYTHING OUTDOORS FL
                    3801 Bayshore Blvd
                    Tampa, FL 33629


                    ARIZONA DEPT. OF ECONOMIC SECURITY
                    P.O. BOX 6028
                    PHOENIX, AZ 85005-6028


                    ARIZONA DEPT. OF REVENUE
                    P.O. BOX 29079
                    PHOENIX, AZ 85038-9079


                    ATLANTICARE OCCUPATIONAL MEDI
                    P.O. BOX 8500 1266
                    PHILADELPHIA, PA 19178


                    B & R SERVICES FOR PROF, INC.
                    235 SOUTH 13TH ST.
                    PHILADELPHIA, PA 19107


                    Barrys Auto Center
                    39 Milltown Rd.
                    UNION, NJ 07083


                    Berkshire Hathaway Homestate Companies
                    P.O. Box 844501
                    Los Angeles, CA 90084-4501


                    BEST CHOICE SECURITY LLC
                    5048 TENNYSON PKWY # 250
                    PLANO, TX 75024
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                    BLUE BOOK OF BUILDING
                    Indian Hill Rd
                    Suite 200
                    Jefferson Valley, NY 10535


                    Body In Motion Sports
                    P.O. Box 385
                    Lakewood, NJ 08701


                    BUFFALO PROTECTION AND I INC
                    603 Division Street
                    Suite # 30
                    North Tonawanda, NY 14120


                    BUILDING SERVICE 32 BJ BENEFIT FUNDS
                    25 WEST 18th STREET
                    4th FLOOR
                    NEW YORK, NY 10011-4676


                    CALIFORNIA DEPOSITION REPORTERS
                    P.O. BOX 108
                    COVINA, CA 91723


                    CAPLIN & DRYSDALE,
                    600 LEXINGTON AVENUE
                    21 st FLOOR
                    NEW YORIK, NY 10022-7619


                    Care Station Medical Group
                    P.O. Box 352
                    Linden, NJ 07036


                    Carol Ann & Michael Mullins
                    30 Courthouse Square
                    Suite # 400
                    Rockville, MD 20850


                    CARR MALONEY PC
                    2020 K STREET, NW
                    SUITE # 850
                    WASHINGTON, DC 20006


                    Central Salt
                    PO BOX 870661
                    KANSAS CITY, MO 64187-0982
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                    CFSE
                    P.O. BOX 42006
                    San Juan, PR 00940-2006


                    CHASAN LEYNER & LAMPARELLO, PC
                    300 LIGHTING WAY
                    SECAUCUS, NJ 07094


                    Cintas Corp. # 062
                    P.O. Box 630803
                    Cincinnati, OH 45263-0803


                    Cintas Corp. # 790
                    500 SOUTH RESEARCH PLACE
                    CENTRAL ISLIP, NY 11722


                    CITY OF GADSDEN
                    REVENUE DEPARTMENT
                    P.O. BOX 267
                    GADSDEN, AL 35902-0267


                    CITY OF HAMPTON
                    TREASURER'S OFFICE
                    1 FRANKLIN STREET STE#100
                    HAMPTON, VA 23669


                    CITY OF IRVING - TAX ASSESSOR
                    825 WEST IRVING BLVD
                    ATTN: BRAD DUFF
                    IRVING, TX 75060


                    CITY OF PHILADELPHIA
                    DEPT. OF REVENUE
                    PO BOX 1660
                    PHILADELPHIA, PA 19105-1660


                    CITY OF PHILADELPHIA
                    PO Box 41818
                    Philadelphia, PA 19101-1818


                    CITY OF THOUSAND OAKS FINANCE DEPT
                    2100 THOUSAND OAKS BLVD
                    THOUSAND OAK, CA 91362
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                    CITY OF VISALIA BUSINESS TAX DIV
                    315 E. ACEQUIA
                    P.O. BOX 4002
                    VISALIA, CA 93278-4002


                    City of West Palm Beach TAX COLLECTOR
                    P.O. BOX 3715
                    WEST PALM BEACH, FL 33402-3715


                    COMCAST-CABLE TV
                    PO Box 196
                    NEWARK, NJ 07101-0196


                    COMCAST-SFNJ
                    1701 JFK BLVD.
                    20TH FLOOR
                    RASAAN WEAVER
                    PHILADELPHIA, PA 19103


                    Comptroller of Maryland
                    Revenue Administration Div.
                    PO Box 2601
                    Annapolis, MD 21404-2601


                    CONCENTRA
                    609 GLOBAL WAY WAY
                    STE. 100-111
                    LINTHICUM, MD 21090


                    CONEDISON
                    P.O. BOX 1702
                    NEW YORK, NY 10116-1702


                    CONN. DEPT. OF REVENUE SERVICES
                    P.O. BOX 2931
                    HARTFORD, CT 06104-2931


                    CONNECTICUT DEPT. OF LABOR
                    EMPLOYMENT SECURITY DIV.
                    P.O. BOX 2940
                    HARTFORD, CT 06104-2940


                    CONOVER BEYER ASSOC.
                    2600 HIGHWAY 35
                    Manasquan, NJ 08736
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                    CT CORP.
                    PO BOX 4349
                    CAROL STREAM, IL 60197-4349


                    CT DEPT. OF REVENUE SERVICES
                    PO Box 2974
                    Hartford, CT 06104-2974


                    Cunningham Lindsey
                    2697 Momentum Place
                    Chicago, IL 60689-5328


                    CURTIS PROTECTIVE SERVICES INC
                    750 SOUTH ORANGE BLOOSOM TRAIL
                    SUITE # 204
                    ORLANDO, FL 32805


                    D'AMATO & LYNCH, LLP
                    TWO WORLD FINANCIAL CENTER
                    225 LIBERTY ST.
                    NEW YORK, NY 10281


                    Dak Group
                    195 Route 17 South
                    Rochelle Park, NJ 07662


                    DC Office of Tax and Revenue
                    941 NORTH CAPITAL STREET NE, 6th Fl
                    Washington, DC 20002-4265


                    DC PHOTO ENFORCEMENT OFFICE
                    P.O. BOX 37075
                    WASHINGTON, DC 20013-7075


                    DC TREASURER
                    P.O. BOX 2014
                    WASHINGTON, DC 20013-2014


                    DEER PARK (Division of Nestle Waters NA)
                    A DIVISION OF NESTLE WATERS NORTH AMERIC
                    LOUISVILLE, KY 40285-6192
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                    DELAWARE DEPT. OF LABOR
                    EMPLOYMENT TRAINING FUND TAX
                    PO BOX 41780
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                    Eastern Maine Medical Center
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                    ELIZABETHTOWN GAS
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                    DOMINICK
                    TOMS RIVER, NJ 08753


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                    NYC, NY 11201
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                    FEDERAL EXPRESS CORPORATION
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                    2 NORTH CHARLES ST.
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                    GARDEN STATE BOBCAT GROUP
                    999 RT. 33
                    GINA
                    FREEHOLD, NJ 07728


                    GARRUTO & CALABRIA LLC
                    600 Franklin Ave.
                    in re Rosamaria Giuliano
                    NUTLEY, NJ 07110


                    GB COLLECTS, LLC
                    1253 HADDONFIELD BERLIN RD.
                    VOORHEES, NJ 08043-4847


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                    PO Box 740235
                    Atlanta, GA 30374-0235


                    Georgia Department of Revenue
                    Taxpayer Services Division
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                    Atlanta, GA 30348-5499


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                    San Juan, PR 00918
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                    GUARD TEXAS
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                    Hodgson Russ
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                    PO BOX 83720
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                    IDAHO STATE TAX COMMISSION
                    P.O. Box 83784
                    Boise, ID 83707-3784


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                    P.O. BOX 56
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                    in re Michael Rodgers
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                    14 Central Blvd
                    SO HACKENSACK, NJ 07606
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                    LABOR READY NORTHEAST, INC.
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                    in re Fox v. Ultimate Services Inc.
                    PHILADELPHIA, PA 19130
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                    MA DEPT OF REVENUE
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                    AUGUSTA, ME 04333-0024


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                    47 D STATE HOUSE STATION
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                    PHILADELPHIA, PA 19106-3337
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                    BELLE MEAD, NJ 08502


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                    In re: Carmen Perez
                    Elmwood Park, NJ 07407


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                    4940 DISSTON STREET
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                    CARLOS A. MENDEZ
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                    NEWARK, NJ 07101-8002


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                    CARSON CITY, NV 89713-0030
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                    NEW YORK STATE DEPT. OF UNEMPLOYMENT INS
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                    NJ DIV. OF TAXATION
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                    ALBANY, NY 12201-2094
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                    & HUNT, P.A.
                    ROCHELLE PARK, NJ 07662


                    Roach Bernard, PLLC & Paulette Brown-Wil
                    175 North Central Avenue
                    Valley Stream, NY 11580


                    ROJANI FACILITIES MANAGEMENT, LLC
                    5802 36th AVENUE
                    HYATTSVILLE, MD 20782-3222


                    ROYAL BATTERY
                    1095 East St. George Avenue
                    COLONIA, NJ 07063


                    RUDISILL GRAPHIC DESIGN
                    10 KIM COURT
                    FAIRVIEW, NC 28730


                    S & T
                    17 bertram drive
                    Bridgewater, NJ 08807


                    SAFE SHREDDING LLC.
                    152 EAGLE ROCK AVE.
                    ROSELAND, NJ 07068


                    Safeguard Business Systems
                    P.O. Box 88043
                    Chicago, IL 60680-1043


                    SCAR SERVICES
                    382 HARBINS RD
                    DACULA, GA 30019


                    SCHAFFER ASSOCIATES, LLC
                    1211 CHAPEL STREET
                    NEW HAVEN, CT 06511


                    Selective Insurance Company of America
                    PO BOX 371468
                    Pittsburgh, PA 15250-7468
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                    SEVELL'S AUTO BODY CO., INC.
                    320 WINDSOR AVE.
                    Westfield, NJ 07090


                    Silvers,Langsam & Weitzm
                    1410 Two Penn Center Plaza
                    in re Michele Camah
                    PHILADELPHIA, PA 19102


                    SIMA
                    7670 N. Port Washington Rd.
                    Suite # 105
                    Milwaukee, WI 53217


                    SMITH INFORMATION SECURITY, LLC
                    8115 FENTON ST., #309
                    SILVER SPRING, MD 20910


                    SMITH, SOVIK, KENDRICK & SUGNET, P.C.
                    250 S. CLINTON ST., SUITE # 600
                    SYRACUSE, NY 13202


                    SOUTHERN DETAILING
                    111 SPRING HILL DRIVE
                    Gerald Althen
                    Goose Creek, SC 29445


                    Specialty Anesthesia Association
                    55 Schanck Road
                    Freehold, NJ 07728-2963


                    Sportscare of America, PC
                    PO BOX 788
                    WINTER PARK, FL 32790


                    SPRINT 700437023-LAND
                    PO BOX 4181
                    CAROL STREAM, IL 60197-4181


                    ST. JAMES SECURITY SERVICES INC.
                    URB. CARIBE
                    SAN JUAN, PR 00926-2723
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                    St. Joseph's Regional Medical Center
                    703 Main St.
                    Paterson, NJ 07503


                    ST. LUKES ROOSEVELT HOSPITAL
                    7 AUDUBON ROAD
                    WAKEFIELD, MA 01880


                    STAR DETECTIVE AND SECURITY
                    813 E. 75TH ST
                    CHICAGO, IL 60619


                    STATE COMPTROLLER
                    306 Harmony Hill Drive
                    Ste. A
                    Lufkin, TX 75901


                    STATE INSURANCE FUND
                    DISABILITY BENEFITS
                    P.O. BOX 5239
                    NEW YORK, NY 10008-5239


                    STATE OF ALABAMA DEP OF REVENUE
                    COLLECTION SERV DIVISION
                    P.O. BOX 327820
                    MONTGOMERY, AL 36132-7820


                    STATE OF ALABAMA DEPT. OF IND. RELATIONS
                    649 MONROE STREET
                    ATTN: BARBARA KNIGHT
                    MONTGOMERY, AL 36131


                    STATE OF CA EMPL. DEVELOPMENT
                    P.O. BOX 826203 MIC 92-759
                    ATTN: ANNETTE CARROLL
                    SACRAMENTO, CA 94230-6203


                    STATE OF CA FRANCHISE TAX BOARD
                    P.O. BOX 942857
                    SACRAMENTO, CA 94257-0511


                    STATE OF CALIFORNIA BOARD OF EQUALIZATIO
                    P.O. BOX 942879
                    SACRAMENTO, CA 94279-0057
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                    State of Florida Dept. of Revenue
                    Out of State Collections Unit
                    1401 W US Highway 90, Ste. 100
                    Lake City, FL 32055-6123


                    STATE OF MAINE DEPT. OF LABOR
                    45 COMMERCE DRIVE
                    AUGUSTA, ME 04333


                    STATE OF MARYLAND
                    P.O. BOX 10427
                    ROCKVILLE, MD 20849


                    STATE OF MARYLAND CENTRAL COLLECTION UNI
                    300 W. PRESTON ST.
                    BALTIMORE, MD 21201-2321


                    STATE OF MARYLAND DEPT. OF LABOR
                    1100 N. EUTAW ST.
                    ROOM 400 ATTN: RHONDA BOWERS
                    BALTIMORE, MD 21201


                    STATE OF MASSACHUSETTS DOR
                    436 DWIGHT STREET
                    ATTN: MR. WILSON MOLANO
                    SPRINGFIELD, MA 01103


                    STATE OF MT DEPT. OF LABOR & INDUSTRY
                    UNEMPLOYMENT INSURANCE
                    P.O. BOX 6339
                    HELENA, MT 59604-6339


                    STATE OF NEW JERSEY
                    DEPT. OF THE TREASURY
                    P.O. BOX 269
                    TRENTON, NJ 08695-0269


                    STATE OF NEW JERSEY - CBT
                    REVENUE PROCESSING CTR
                    PO BOX 666
                    TRENTON, NJ 08646-0666


                    STATE OF NH-UC
                    P.O. BOX 2058
                    CONCORD, NH 03302-2058
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                    STATE OF NJ DEPT. OF LABOR
                    & WORKFORCE DEVELOPMENT
                    PO BOX 399
                    TRENTON, NJ 08625-0399


                    State of NJ Gross Income Tax
                    PO Box 248
                    Trenton, NJ 08646-0248


                    STATE OF NJ MOTOR MOTOR VEHICLE
                    120 S Stockton & Front St
                    Trenton, NJ 08611


                    STATE OF NV DEPT OF TAXATION
                    P.O. BOX 52685
                    PHOENIX, AZ 85072


                    STATE OF WASHINGTON
                    P.O. BOX 34022
                    SEATTLE, WA 98124-1022


                    State of Washington Dept. of Labor
                    901 N. Monroe, STE 100
                    Attn: Dalynna Larsen-Revenue Agent 2
                    Spokane, WA 99201-2149


                    STATE OF WASHINGTON ESD
                    P.O. BOX 10708
                    ATTN: GLORIA
                    YAKIMA, WA 98909


                    STATEWIDE PATROL
                    800 W. AIRPORT FRWY
                    STE 512
                    Irving, TX 75062


                    STS
                    2470 ROUTE 22 EAST
                    BOB
                    UNION, NJ 07083-0306


                    SUAREZ GAS
                    P.O. BOX 1227
                    ELIEZER
                    FAJARDO, PR 00738
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                    Subin Associates, LL
                    150 Broadway
                    23rd Floor
                    in re Iannico v Ultimate Services Inc.
                    NEW YORK, NY 10038


                    SUNOCO A-PLUS
                    2350 ROUTE 22 CENTER
                    RAJ
                    UNION, NJ 07083


                    SUNOCO-LUKOIL
                    2350 ROUTE 22 CENTER
                    RAJ
                    Union, NJ 07083


                    SUNOCO-ROBINSON
                    171 GARDEN STATE PKWY
                    MONTVALE, NJ 07645


                    SWIFTPAGE ACT
                    Dept. CH 19558
                    Palatine, IL 60055-9558


                    TBBK Leasing
                    575 Route 28
                    Ste. 2201
                    Raritan, NJ 08869


                    TEXAS WORKFORCE COMMISSION
                    PO Box 149037
                    Austin, TX 78714-9037


                    THE GALLERY COLLECTION
                    PRUDENT PUBLISHING
                    P.O. BOX 360
                    RIDGEFIELD PARK, NJ 07660-0360


                    THE HARTFORD FIRE
                    P.O. BOX 660916
                    DALLAS, TX 75266-0916


                    The Law Office of Nancy K. Galassi
                    1325 Franklin Avenue
                    Suite 120
                    Garden City, NY 11530
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                    THE MCS GROUP, INC.
                    1601 MARKET ST.
                    SUITE # 800
                    PHILADELPHIA, PA 19103


                    THE STAFFING GROUP LTD
                    168 N. JOHNSTON ST.
                    SUITE # 302
                    DALLAS, GA 30132


                    Tidal Emergency Physicians
                    P.O. Box 41433
                    PHILADELPHIA, PA 19101-1433


                    Time Warner Cable
                    P.O. Box 11820
                    NEWARK, NJ 07101-8120


                    TN Department of Labor and Workforce Dev
                    200 French Landing Drive
                    Nashville, TN 37243


                    TN Department of Revenue
                    500 Deaderick St.
                    Nashville, TN 37242


                    TOWN OF DAVIE
                    6591 ORANGE DRIVE
                    DAVIE, FL 33314-3399


                    TRANSGLOBAL ADJUSTING CORP.
                    2857 RIVIERA DRIVE
                    FAIRLAWN, OH 44333


                    TRAVELERS
                    395 WEST PASSAIC ST.
                    SUITE 205
                    ROCHELLE PARK, NJ 07662


                    TRAVELERS
                    P.O. BOX 660317
                    DALLAS, TX 75266-0317
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                    Trust Acct. of John A. Morrissey, Esq.
                    261 Main Street
                    Charlestown, MA 02129


                    Trust Acct. of Seigel Capozzi
                    43 Heritage Drive
                    Sparta, NJ 07871


                    TRUST SECURITY SERVICES INC
                    c/o SEACOAST BANK
                    PO BOX 60479
                    CHARLOTTE, NC 28260


                    TYCO SECURITY
                    PO BOX 371967
                    Pittsburgh, PA 15250-7967


                    U-HAUL
                    PO BOX 52128
                    (blank)
                    PHOENIX, AZ 85072-2128


                    UHAUL
                    PO BOX 52128
                    PHOENIX, AZ 85072-2128


                    ULINE
                    PO BOX 88741
                    CHICAGO, IL 60680-1741


                    UNEMPLOYMENT INSURANCE AGENCY
                    P.O. BOX 33598
                    DETROIT, MI 48232-5598


                    UNIPRO
                    P.O. BOX 2639
                    NEWARK, NJ 07114


                    UNIVERSITY OFFICE PARK OF DAVIE, LLC
                    5400 S. UNIVERSITY DRIVE
                    SUITE # 602
                    DAVIE, FL 33328
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                    UPS
                    P.O. BOX 7247-0244
                    (blank)
                    PHILADELPHIA, PA 19170-0001


                    UTAH DEPT. OF WORKFORCE SERVICES
                    PO BOX 45288
                    (blank)
                    SALT LAKE CITY, UT 84145-0288


                    UTAH STATE TAX COMMISSION
                    210 NORTH 1950 WEST
                    SALT LAKE CITY, UT 84134-0180


                    UTAH UI COLLECTIONS UNIT
                    PO BOX 45288
                    ATTN: KEVIN SHINGLETON
                    SALT LAKE CITY, UT 84145-0288


                    VA Department of Taxation
                    PO Box 27264
                    Richmond, VA 23261-7264


                    VERITEX CORP.
                    330 OLD COUNTRY RD.
                    STE. 300
                    MINEOLA, NY 11501


                    VERIZON
                    P.O. BOX 4833
                    TRENTON, NJ 08650-4833


                    VERIZON
                    P.O. BOX 15124
                    ALBANY, NY 12212-5124


                    VIRGINIA STATE TAX DEPT.
                    TAX ACCOUNT ADMINISTRATION DIV.
                    P.O. BOX 1202
                    CHARLESTON, WV 25324-1202


                    VT Dept of Employment & Training
                    PO Box 488
                    Montpelier, VT 05601-0488
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                    WA DEPT. OF LABOR & INDUSTRIES
                    7273 LINDERSON WAY SW
                    TUMWATER, WA 98501


                    WA DEPT. OF LABOR & INDUSTRIES
                    PO BOX 34974
                    SEATTLE, WA 98124-1974


                    WA Dept. of Labor & Industries
                    901 N. Monroe St., STE 100
                    Spokane, WA 99201-2148


                    WA EMPLOYMENT SECURITY DEPT
                    BENEFIT PAYMENT CONTROL
                    PO BOX 24928
                    SEATTLE, WA 98124-0928


                    WASH HOUNDS
                    2440 ROUTE # 22 EAST
                    Union, NJ 07083


                    WASHINGTON DC
                    BUREAU OF ADJUDICATION
                    P O BOX 37135
                    WASHINGTON, DC 20013-0013


                    WASHINGTON STATE DEPT. OF REVENUE
                    P.O. BOX 47473
                    OLYMPIA, WA 98504-7473


                    WEST VIRGINIA STATE TAX DEPT
                    TAX ACCOUNT ADMINSTRATION DIVISION
                    P.O. BOX 1202
                    CHARLESTON, WV 25324-1202


                    WESTERN PEST SERVICES
                    1048 ROUTE 22
                    MOUNTAINSIDE, NJ 07092-2899


                    WI Department of Financial Institutions
                    Division of Corporate & Consumer Service
                    PO Box 7846
                    Madison, WI 53707-7846
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                    WILSON ELSER MOSKOWITZ EDELMAN et al
                    100 SOUTHEAST SECOND ST., SUITE 3800
                    In Re: Carlotta Cespedes
                    MIAMI, FL 33131-2126


                    WISCONSIN DEPARTMENT OF REVENUE
                    BOX 930208
                    MILWAUKEE, WI 53293-0208


                    WISCONSIN DEPT. OF REVENUE
                    P.O. BOX 8908
                    MADISON, WI 53708-8908


                    WV BUREAU OF EMPLOYMENT
                    LEGAL SECTION 5107
                    112 CALIFORNIA AVENUE
                    CHARLESTON, WV 25305-0112


                    WV INSURANCE COMMISSIONER
                    P.O. BOX 40254
                    CHARLESTON, WV 26364-0254


                    XL-Insurance T/A Indian Harbor Insurance
                    1236 Brace Rd.
                    Suite K
                    Cherry Hill, NJ 08034


                    XTREME SNOW PROS
                    61 E. RAMAPO AVE.
                    MAHWAH, NJ 07430


                    YRC FREIGHT
                    P.O. Box 13573
                    NEWARK, NJ 07188-3573
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                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re      USI Services Group, Inc.                                                                      Case No.
                                                                                   Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for USI Services Group, Inc. in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 January 3, 2018                                                       /s/ Stuart Gold
 Date                                                                  Stuart Gold 009511986
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for USI Services Group, Inc.
                                                                       Mandelbaum Salsburg P.C.
                                                                       3 Becker Farm Road
                                                                       Roseland, NJ 07068
                                                                       9737364600 Fax:9733257467
                                                                       sgold@lawfirm.ms




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                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re      USI Services Group, Inc.                                                                       Case No.
                                                                                  Debtor(s)                Chapter    11



           STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION
        I, Frederick G. Goldring, declare under penalty of perjury that I am the President of USI Services Group, Inc.,
and that the following is a true and correct copy of the resolutions adopted by written consent of the sole
director executed on January 3, 2018.

      "Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

        Be It Therefore Resolved, that Frederick G. Goldring, President of this Corporation, is authorized and
directed to execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary
bankruptcy case on behalf of the corporation; and

       Be It Further Resolved, that Frederick G. Goldring, President of this Corporation is authorized and directed
to appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts
and deeds and to execute and deliver all necessary documents on behalf of the corporation in connection with
such bankruptcy case, and

       Be It Further Resolved, that Frederick G. Goldring, President of this Corporation is authorized and directed
to employ the law firm of Mandelbaum Salsburg P.C. to represent the corporation in such bankruptcy case."

 Date January 3, 2018                                                           Signed /s/ Frederick G. Goldring
                                                                                         Frederick G. Goldring, President




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            Case 18-10153-JKS                         Doc 1           Filed 01/03/18 Entered 01/03/18 17:12:01               Desc Main
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                                 WRITTEN CONSENT OF SOLE DIRECTOR IN LIEU OF MEETING
                                                         of
                                                                        USI Services Group, Inc.




      Whereas, it is in the best interest of this corporation to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

        Be It Therefore Resolved, that Frederick G. Goldring, President of this Corporation, is authorized and
directed to execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary
bankruptcy case on behalf of the corporation; and

       Be It Further Resolved, that Frederick G. Goldring, President of this Corporation is authorized and directed
to appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts
and deeds and to execute and deliver all necessary documents on behalf of the corporation in connection with
such bankruptcy case, and

       Be It Further Resolved, that Frederick G. Goldring, President of this Corporation is authorized and directed
to employ the law firm of Mandelbaum Salsburg P.C. to represent the corporation in such bankruptcy case.

 Date January 3, 2018                                                           Signed     /s/ Frederick G. Goldring
                                                                                           Frederick G. Goldring, Sole Director


 Date                                                                           Signed




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